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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.         2:22-cv-02611-SVW                                                Date      June 24, 2022
                  USBC Central, 9:21-bk-11255
                  USBC Central - BAP, CC-22-01054
 Title            In re Debtor JP Ramble, LLC




 Present: The Honorable             STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                Paul M. Cruz                                     N/A
                Deputy Clerk                           Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                              N/A                                                      N/A
 Proceedings:                 IN CHAMBERS - ORDER TO SHOW CAUSE WHY THIS CASE SHOULD
                              NOT BE DISMISSED FOR LACK OF PROSECUTION

        Within fourteen days after filing the notice of appeal, Appellant must file the following
with the Clerk of the Bankruptcy Court:

          A designation of record
          A statement of issues on appeal
          A notice regarding the ordering of transcripts

        After the designated record is complete, the Clerk of the Bankruptcy Court will transmit to the Clerk
of the District Court either the record for this appeal or notice that the record is available electronically. The
Clerk of the District Court will then issue a Notice Re: Bankruptcy Record Complete, which will constitute
notice, pursuant to Federal Rule of Bankruptcy Procedure 8010(b)(3), that the record has been received by
the District Court.

         The file in this case lacks the papers that would show it is being timely prosecuted. Accordingly, the
Court, on its own motion, hereby orders plaintiff(s) to show cause in writing no later than July 1, 2022 why
this action should not be dismissed as to all remaining defendants for lack of prosecution.




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                                                                Initials of Preparer              PMC
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